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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7        MATTHEW PRICE,                                    Case No. 21-cv-02846-HSG
                                                           Plaintiff,
                                   8
                                                                                              ORDER GRANTING MOTION TO
                                                     v.                                       DISMISS
                                   9

                                  10        APPLE, INC.,                                      Re: Dkt. No. 56
                                                           Defendant.
                                  11

                                  12
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                                  13            Pending before the Court is Defendant Apple, Inc.’s motion to dismiss Plaintiff Matthew

                                  14   Price’s second amended complaint. See Dkt. No. 65. The Court finds this matter appropriate for

                                  15   disposition without oral argument and the matter is deemed submitted. See Civil L.R. 7-1(b). For

                                  16   the reasons below, the Court GRANTS the motion.

                                  17   I.       BACKGROUND
                                  18            A.        Allegations
                                  19            Plaintiff alleges that since approximately January 2015 he has had an Apple ID to purchase

                                  20   apps and other content from Apple. See Dkt. No. 53 (“SAC”) at ¶¶ 2, 8–10, 23. Plaintiff further

                                  21   asserts that during this time he made several in-app game purchases that “did not work as

                                  22   advertised or at all.” See id. at ¶ 24. He alleges that he contacted Apple, and was advised to

                                  23   contact the game/app developer. Id. When this was unsuccessful, he contacted Apple again, and

                                  24   the company suggested that he “talk to his bank/credit card company to have them chargeback the

                                  25   money he spent on said purchases.” Id. Plaintiff contends that “chargebacks” are not “refunds,”

                                  26   and defines them as “a consumer protection tool that allow consumers to get their money back for

                                  27   fraudulent charges or purchases that don’t live up to standards . . . .” See id. at ¶ 4, n.4. Plaintiff

                                  28   acknowledges that he requested “multiple chargebacks” for purchases he made using his Apple
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                                   1   ID. See id. at ¶¶ 24, 26. In October 2020, after Plaintiff processed another chargeback, Apple

                                   2   terminated Plaintiff’s Apple ID. Id. at ¶¶ 26–28. He no longer has access to the content that he

                                   3   purchased or the $7.63 in unspent money that he had in his Apple account at the time of his

                                   4   termination. See id. at ¶¶ 29–30. According to Plaintiff, an Apple representative told him that

                                   5   Apple terminated his Apple ID because he initiated these chargebacks. See id. at ¶ 27. Plaintiff

                                   6   contends that he did not violate Apple’s Terms and Conditions, and says the company had no basis

                                   7   to terminate his account. See id. at ¶¶ 3, 22, 28, 33, 36, 40, 42. He urges that by terminating his

                                   8   Apple ID, Apple violated its own Terms and Conditions. See id. at ¶¶ 6, 58–72.

                                   9           As relevant to this case, the Terms and Conditions state that users may not “plan or engage

                                  10   in any illegal, fraudulent, or manipulative activity.” See SAC, Ex. A at 5–6. The Terms also state

                                  11   that Apple “may monitor [users’] use of the Services and Content” for compliance with the Terms,

                                  12   id. at 3, and that it may “refuse a refund request if we find evidence of fraud, refund abuse, or
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                                  13   other manipulative behavior that entitles Apple to a corresponding counterclaim,” id. at 2. The

                                  14   Terms also include the following termination provision:

                                  15
                                                        TERMINATION AND SUSPENSION OF SERVICES
                                  16
                                                        If you fail, or Apple suspects that you have failed, to comply with any
                                  17                    of the provisions of this Agreement, Apple may, without notice to
                                                        you: (i) terminate this Agreement and/or your Apple ID, and you will
                                  18                    remain liable for all amounts due under your Apple ID up to
                                                        and including the date of termination; and/or (ii) terminate your
                                  19                    license to the software; and/or (iii) preclude your access to the
                                                        Services.
                                  20
                                                        Apple further reserves the right to modify, suspend, or discontinue the
                                  21                    Services (or any part or Content thereof) at any time with or without
                                                        notice to you, and Apple will not be liable to you or to any third party
                                  22                    should it exercise such rights.
                                  23

                                  24   See id. at 12.

                                  25           B.       Procedural History
                                  26           Plaintiff initially filed this putative class action in April 2021. See Dkt. No. 1. Apple

                                  27   moved to dismiss the complaint, Dkt. No. 20, but rather than oppose the motion, Plaintiff filed an

                                  28   amended complaint, Dkt. No. 31. At the time, Plaintiff asserted various claims, including for
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                                   1   violations of California’s Unfair Competition Law (“UCL”) and Consumers Legal Remedies Act

                                   2   (“CLRA”), and for conversion, trespass to chattels, and unjust enrichment. See Dkt. No. 31.

                                   3   Apple again moved to dismiss the complaint. Dkt. No. 32. The Court granted the motion to

                                   4   dismiss in its entirety, but granted Plaintiff leave to amend the UCL and CLRA claims only. Dkt.

                                   5   No. 52 at 13–14. Rather than amend his existing claims, however, Plaintiff’s SAC asserts a new

                                   6   breach of contract claim. See SAC at ¶¶ 58–72. Apple again moves to dismiss. Dkt. No. 56.

                                   7   II.    LEGAL STANDARD
                                   8          Federal Rule of Civil Procedure 8(a) requires that a complaint contain “a short and plain

                                   9   statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). A

                                  10   defendant may move to dismiss a complaint for failing to state a claim upon which relief can be

                                  11   granted under Rule 12(b)(6). “Dismissal under Rule 12(b)(6) is appropriate only where the

                                  12   complaint lacks a cognizable legal theory or sufficient facts to support a cognizable legal theory.”
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                                  13   Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008). To survive a Rule

                                  14   12(b)(6) motion, a plaintiff need only plead “enough facts to state a claim to relief that is plausible

                                  15   on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is facially plausible

                                  16   when a plaintiff pleads “factual content that allows the court to draw the reasonable inference that

                                  17   the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

                                  18          In reviewing the plausibility of a complaint, courts “accept factual allegations in the

                                  19   complaint as true and construe the pleadings in the light most favorable to the nonmoving party.”

                                  20   Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). Nevertheless,

                                  21   courts do not “accept as true allegations that are merely conclusory, unwarranted deductions of

                                  22   fact, or unreasonable inferences.” In re Gilead Scis. Secs. Litig., 536 F.3d 1049, 1055 (9th Cir.

                                  23   2008) (quoting Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001)).

                                  24   III.   DISCUSSION
                                  25          Over a year after Plaintiff initially filed this case, he attempts to recast it as a breach of

                                  26   contract action. Plaintiff contends that Apple breached the termination provision of the Terms and

                                  27   Conditions by (1) terminating his Apple ID and (2) retaining his unused funds because his

                                  28   chargebacks were not prohibited by the Terms. See SAC at ¶¶ 58–72. But even as amended, the
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                                   1   Court finds that the latest complaint fails to state a claim for relief.

                                   2           A.      Breach of Contract Claims
                                   3           To state a breach of contract claim under California law, a plaintiff must allege “(1) the

                                   4   existence of the contract, (2) plaintiff’s performance or excuse for nonperformance,

                                   5   (3) defendant’s breach, and (4) the resulting damages to the plaintiff.” Oasis W. Realty, LLC v.

                                   6   Goldman, 51 Cal. 4th 811, 821 (Cal. 2011). Additionally, “[i]n an action for breach of a written

                                   7   contract, a plaintiff must allege the specific provisions in the contract creating the obligation the

                                   8   defendant is said to have breached.” See, e.g., Young v. Facebook, Inc., 790 F. Supp. 2d 1110,

                                   9   1117 (N.D. Cal. 2011); see also Miron v. Herbalife Int'l, Inc., 11 Fed. App’x 927, 929 (9th Cir.

                                  10   2001) (“The district court’s dismissal of the [plaintiffs’] breach of contract claims was proper

                                  11   because the [plaintiffs] failed to allege any provision of the contract which supports their claim.”).1

                                  12   Critically, Plaintiff here has not identified any provision of the Terms that Apple allegedly
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                                  13   breached.

                                  14                   1.      Termination of Apple ID
                                  15           First, Plaintiff asserts that Apple breached the “Termination and Suspension of Services”

                                  16   provision quoted in Section I above by terminating his Apple ID account. See SAC at ¶¶ 60–65.

                                  17   Plaintiff repeatedly asserts that chargebacks are lawful and not prohibited by the Terms. See, e.g.,

                                  18   id. at ¶¶ 3, 22, 28, 33, 36, 40, 42. Thus, according to Plaintiff, “Apple materially breached its

                                  19   Terms with Plaintiff and the members of the Class by erroneously finding, or suspecting, that they

                                  20   violated its Terms because they engaged in chargebacks.” Id. at ¶ 64.

                                  21           However, Plaintiff’s breach of contract claim is belied by his own allegations. The Terms

                                  22   state that users may not “plan or engage in any illegal, fraudulent, or manipulative activity.” See

                                  23   SAC, Ex. A at 5–6 (emphasis added). And under the termination provision, Apple may terminate

                                  24   a user’s Apple ID if the user “fail[s], or Apple suspects that [he] ha[s] failed, to comply with any

                                  25   of the provisions of [the Terms] . . . .” See SAC, Ex. A at 12 (emphasis added). Although in his

                                  26   opposition Plaintiff suggests that Apple terminated his account “without any rational basis or

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                                  28    As an unpublished Ninth Circuit decision, Miron is not precedent, but may be considered for its
                                       persuasive value. See Fed. R. App. P. 32.1; CTA9 Rule 36-3.
                                                                                      4
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                                   1   suspicion,” Dkt. No. 57 at 7, this is inconsistent with the allegations in the complaint. Plaintiff

                                   2   acknowledges that he requested “multiple chargebacks” for purchases he made using his Apple

                                   3   ID, and that Apple terminated his Apple ID because of this conduct. See SAC at ¶¶ 24, 26–27. It

                                   4   is simply immaterial whether Plaintiff’s multiple chargebacks were actually fraudulent or

                                   5   manipulative because even as alleged, Apple suspected that they were. As the Court previously

                                   6   explained, because Plaintiff accepted the Terms, he “knew that he would lose access to his

                                   7   purchased apps and services if Apple determined (or even suspected) that he failed to comply with

                                   8   the Apple Terms.” See Dkt. No. 52 at 11. Because Apple was “‘given the right to do what [it] did

                                   9   by the express provisions of the contract there can be no breach.’” Mishiyev v. Alphabet, Inc., 444

                                  10   F. Supp. 3d 1154, 1159 (N.D. Cal. 2020) (quoting Carma Dev. (Cal.) Inc. v. Marathon Dev. Cal.,

                                  11   Inc., 2 Cal. 4th 342, 374 (Cal. 1992)). The Court therefore GRANTS Apple’s motion to dismiss

                                  12   as to this claim.
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                                  13                   2.     Withholding Funds
                                  14           Second, and relatedly, Plaintiff asserts that Apple breached the “Termination and

                                  15   Suspension of Services” provision by withholding Plaintiff’s access to his unused funds after it

                                  16   terminated his Apple ID. See SAC at ¶¶ 66–72. In doing so, Plaintiff has reframed his conversion

                                  17   claim—which the Court dismissed—as a breach of contract claim. See Dkt. No. 52 at 10–11. In

                                  18   its prior order, the Court explained that Plaintiff consented to the Terms, which give “Apple the

                                  19   right to terminate a user’s Apple ID account if it suspects a user has ‘failed . . . to comply with any

                                  20   of the provisions of’ the Apple Terms.” Id. at 11 (quoting Apple Terms). In any event, to plead a

                                  21   breach of contract claim here Plaintiff must identify “the specific provisions in the contract

                                  22   creating the obligation the defendant is said to have breached.” See Young, 790 F. Supp. 2d at

                                  23   1117. But the termination provision that Plaintiff relies on does not say anything about returning

                                  24   unused funds to users whose accounts are terminated. Plaintiff fails to explain how Apple

                                  25   nevertheless breached this provision. In short, Plaintiff has not identified any provision of the

                                  26   Terms that Apple actually breached by withholding access to any unused funds. See, e.g., In re

                                  27   Bank of Am. Credit Prot. Mktg. & Sales Pracs. Litig., No. MD 11-2269 TEH, 2012 WL 1123863,

                                  28   at *3 (N.D. Cal. Apr. 3, 2012) (dismissing breach of contract claim that was based on absence of a
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                                   1   term allowing the contested conduct). The Court therefore GRANTS Apple’s motion as to this

                                   2   claim as well.2

                                   3           B.        Limitation of Liability Provision
                                   4           Even if Plaintiff adequately alleged a breach of contract claim, Apple argues that his

                                   5   claims are nevertheless barred by Apple’s limitation of liability provision. See Dkt. No. 56 at 13–

                                   6   15. Under the Terms, a user “agree[s] that [he] shall not sue or recover any damages from

                                   7   Apple . . . as a result of its decision . . . to suspend or terminate [the user’s] access to the

                                   8   services . . . .” See SAC, Ex. A at 12–13. In response, Plaintiff explicitly states that he “does not

                                   9   argue that Apple’s limitation of liability provision is unconscionable . . . .” See Dkt. No. 57 at 11,

                                  10   n.5. Rather, he argues that the provision is void because (1) it is contrary to public policy under

                                  11   California law, and (2) it would permit Apple to evade statutory liability. Dkt. No. 57 at 11–17.

                                  12   The Court is not persuaded.
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                                  13           Under California law, “[w]ith respect to claims for breach of contract, limitation of liability

                                  14   clauses are enforceable unless they are unconscionable, that is, the improper result of unequal

                                  15   bargaining power or contrary to public policy.” See Food Safety Net Servs. v. Eco Safe Sys. USA,

                                  16   Inc., 209 Cal. App. 4th 1118, 1126 (Cal. Ct. App. 2012). Here, Plaintiff suggests that enforcing

                                  17   this limitation of liability provision is contrary to public policy because the Apple Terms

                                  18   “implicate [the] public interest.” See Dkt. No. 57 at 12–15 (citing Tunkl v. Regents of Univ. of

                                  19   Cal., 60 Cal. 2d 92, 98–109 (Cal. 1963) (en banc)). In determining whether the public interest

                                  20   exception applies, courts consider such factors as whether the contract “concerns a business of a

                                  21   type generally thought suitable for public regulation” and whether “[t]he party seeking exculpation

                                  22   is engaged in performing a service of great importance to the public, which is often a matter of

                                  23   practical necessity for some members of the public.” Id. at 98–99. The California Supreme Court

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                                        To the extent Plaintiff attempts in his opposition brief to amend his complaint to add a cause of
                                  26   action for breach of the implied covenant of good faith and fair dealing, Dkt. No. 57 at 8–9, this is
                                       improper. The SAC does not allege a violation of the covenant of good faith and fair dealing. In
                                  27   any event, as already discussed, the Terms expressly allowed Apple to terminate Plaintiff’s
                                       account based on its suspicion of manipulative activity. See Carma, 2 Cal. 4th at 374 (rejecting
                                  28   covenant of good faith and fair dealing claim based on conduct expressly permitted by terms of
                                       agreement).
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                                   1   has explained that in such circumstances, “[s]ince the service is one which each member of the

                                   2   public, presently or potentially, may find essential to him, he faces, despite his economic inability

                                   3   to do so, the prospect of a compulsory assumption of the risk of another’s negligence.” Id. at 101.

                                   4          Here, Plaintiff contends that “[w]hile Apple may not provide life-or-death services, there

                                   5   can be no doubt that its Services have become ‘a practical necessity’ for a large percentage of the

                                   6   public.” Dkt. No. 57 at 13; see also id. at 14 (“Apple provides products and Services of practical

                                   7   necessity to the public . . . .”). But Plaintiff offers no support for this assertion. Even if Apple

                                   8   products are as “ubiquitous” as Plaintiff suggests, id. at 14, that is not the same as being essential.

                                   9   Plaintiff’s own authority clarifies that in determining whether a service is essential, courts should

                                  10   consider: “Is the service merely an optional item consumers can do without if they don’t want to

                                  11   waive their rights to recover for negligence or is it something they need enough so they have little

                                  12   choice if the provider attaches a liability disclaimer?” See Gavin W. v. YMCA of Metro. Los
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                                  13   Angeles, 106 Cal. App. 4th 662, 672 (Cal. Ct. App. 2003) (quotation omitted). In Gavin, for

                                  14   example, the court found that childcare services were essential because “55 percent of children

                                  15   ages 13 and under live in families with two employed parents or an employed single head of

                                  16   household,” and due to cost of living, few parents can afford to stay home to care for young

                                  17   children. Id. at 671–72. Plaintiff has no credible argument that use of Apple’s products in this

                                  18   case is not optional.

                                  19          In the absence of such an explanation, the Court agrees with Apple that the Terms are a

                                  20   contract “governing the voluntary use and purchase of nonessential recreational activities and

                                  21   entertainment media.” See Dkt. No. 58 at 10. As Plaintiff’s own complaint indicates, he used his

                                  22   Apple ID to purchase recreational content such as “movies, music, games, media, [and] books.”

                                  23   See SAC at ¶ 2; see also id. at ¶ 24 (alleging that Plaintiff “made numerous in app game purchases

                                  24   through Apple”). And he seeks “to recover the money paid to Apple for Apps, music, movies, TV

                                  25   shows, services and/or other Content [he and the putative class] purchased . . . .” Id. at ¶ 39.

                                  26   Plaintiff cites no authority supporting his argument that the public interest exception should apply

                                  27   in this context. Cf. Lhotka v. Geographic Expeditions, Inc., 181 Cal. App. 4th 816, 823 (Cal. Ct.

                                  28   App. 2010) (“[O]ur courts consistently hold that recreation does not implicate the public interest,
                                                                                          7
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                                   1   and therefore approve exculpatory provisions required for participation in recreational activities.”)

                                   2   (collecting cases).

                                   3          Plaintiff also urges that enforcing the limitation of liability provision would allow Apple to

                                   4   evade statutory liability. See Dkt. No. 57 at 16–17. This argument is similarly misplaced.

                                   5   Because Plaintiff only brings breach of contract claims here, and his previous statutory claims

                                   6   were dismissed, enforcing the liability limitation provision in this case would not allow Apple to

                                   7   evade any statutory liability. Plaintiff cites Cal. Civ. Code § 1668, Dkt. No. 57 at 16, which states

                                   8   that “[a]ll contracts which have for their object, directly or indirectly, to exempt anyone from

                                   9   responsibility for his own fraud, or willful injury to the person or property of another, or violation

                                  10   of law, whether willful or negligent, are against the policy of the law.” But again, this is a breach

                                  11   of contract case, and courts routinely uphold liability limitation provisions in this context. See,

                                  12   e.g., Gardiner v. Walmart Inc., No. 20-CV-04618-JSW, 2021 WL 2520103 at *9 (N.D. Cal. Mar.
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                                  13   5, 2021) (finding limitation of liability clause barred breach of contract claims); Huynh v. Quora,

                                  14   Inc., No. 18-CV-07597-BLF, 2019 WL 11502875 at 11 (N.D. Cal. 2019) (same); Bass v.

                                  15   Facebook, Inc., 394 F. Supp. 3d 1024, 1037–38 (N.D. Cal. 2019) (same). And to the extent

                                  16   Plaintiff suggests that Apple may have violated various state or federal regulations, see Dkt. No.

                                  17   57 at 16, he did not allege any such facts in the complaint and he may not amend the complaint to

                                  18   add new causes of action through his opposition.

                                  19          Accordingly, even if Plaintiff had stated a breach of contract claim, he has not adequately

                                  20   explained why under the circumstances of this case, the limitation of liability provision would not

                                  21   be enforceable and bar such claims.

                                  22   IV.    CONCLUSION
                                  23          The Court GRANTS Apple’s motion to dismiss. Plaintiff has had ample opportunity to

                                  24   state a claim for relief, but has repeatedly failed to do so. The Court finds that granting leave to

                                  25   amend would be futile, and therefore DISMISSES the case without leave to amend. See Zucco

                                  26   Partners, LLC v. Digimarc Corp., 552 F.3d 981, 1007 (9th Cir. 2009) (“[W]here the Plaintiff has

                                  27   previously been granted leave to amend and has subsequently failed to add the requisite

                                  28   particularity to its claims, [t]he district court’s discretion to deny leave to amend is particularly
                                                                                           8
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                                   1   broad.” (quotation omitted)). The Clerk is directed to enter judgment in favor of Defendant Apple,

                                   2   Inc. and to close the case.

                                   3            IT IS SO ORDERED.

                                   4   Dated:    3/28/2023

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                                                                                                  HAYWOOD S. GILLIAM, JR.
                                   7                                                              United States District Judge
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